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 5                         UNITED STATES DISTRICT COURT
 6                       FOR THE DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                         No. CR-13-114-FVS-3

 9                      Plaintiff,                   ORDER GRANTING
10                                                   UNOPPOSED MOTION TO
     vs.                                             MODIFY
11
12 MICHAEL NORRIS,
13
                        Defendant.
14
15         BEFORE THE COURT is Defendant’s unopposed Motion to modify the
16   conditions of release by allowing investigator, Timothy J. McCann of TJM
17   Enterprises to transport Defendant to the United States Probation Office and then
18   to the Spokane International Airport after his release from the Spokane County
19   Jail. The Court has reviewed the reasons for the request.
20         IT IS ORDERED that the Motion, ECF No. 124, is granted.
21         Defendant shall be released from the Spokane County Jail on September 5,
22   2013, no later than 8:30 a.m. Timothy J. McCann is permitted to pick up and
23   then transport Defendant as follows:
24         1.     Mr. McCann shall pick up Defendant and transport Defendant to the
25   United States Probation Office at the United States Courthouse, Spokane,
26   Washington, for a required post-release meeting; and
27         2.    After the meeting, Mr. McCann shall transport Defendant from the
28   Probation Office to the Spokane International Airport for flight to Denver,



     ORDER - 1
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 1   Colorado.
 2        All other terms and conditions of Defendant’s release remain in effect.
 3        DATED August 28, 2013.
 4
 5                           S/ CYNTHIA IMBROGNO
                       UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
